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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                       )
In re:                                 )
                                       )                                    Chapter 11
                                   1
HIGHLAND CAPITAL MANAGEMENT, L.P.,     )
                                       )                                    Case No. 19-34054 (SGJ)
                  Debtor.              )
                                       )
                                       )
                                       )
HIGHLAND CAPITAL MANAGEMENT, L.P.,     )
                                       )
                 Plaintiff,            )
                                       )                                    Adv. Proc No: 21-03007 (SGJ)
vs.                                    )
                                       )                                    Case No: 3:21-cv-01379-X
HCRE PARTNERS, LLC n/k/a NEXPOINT REAL )
ESATE PARTNERS, LLC,                   )
                                       )
                 Defendant,            )
                                       )

                                      CERTIFICATE OF SERVICE

      I, Vincent Trang, depose and say that I am employed by Kurtzman Carson Consultants
LLC (“KCC”), the claims and noticing agent for the Debtor in the above-captioned case.

        On August 10, 2021, at my direction and under my supervision, employees of KCC
caused the following document to be served via Electronic Mail upon the service list attached
hereto as Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

    •    Plaintiff's Reply to Defendant's Limited Objection to Report and Recommendation
         of the Bankruptcy Court Relating to Defendant's Motion to Withdraw the
         Reference [Docket No. 12]

Dated: August 13, 2021                                    /s/ Vincent Trang
                                                          Vincent Trang
                                                          KCC
                                                          222 N Pacific Coast Highway, Suite 300
                                                          El Segundo, CA 90245

1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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                          EXHIBIT A
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                                                                  Exhibit A
                                                           Civil Action Service List
                                                          Served via Electronic Mail

             Description                     CreditorName                 CreditorNoticeName                         Email
 Financial Advisor to Official                                       Earnestiena Cheng, Daniel H    Earnestiena.Cheng@fticonsulting.com;
 Committee of Unsecured Creditors     FTI Consulting                 O'Brien                        Daniel.H.O'Brien@fticonsulting.com
                                                                     Melissa S. Hayward, Zachery    MHayward@HaywardFirm.com;
 Counsel for the Debtor               Hayward & Associates PLLC      Z. Annable                     ZAnnable@HaywardFirm.com
                                                                                                    jpomerantz@pszjlaw.com;
                                                                    Jeffrey N. Pomerantz, Robert J. rfeinstein@pszjlaw.com;
                                      Pachulski Stang Ziehl & Jones Feinstein, John A. Morris,      jmorris@pszjlaw.com;
 Counsel for the Debtor               LLP                           Gregory V. Demo                 gdemo@pszjlaw.com
                                      Pachulski Stang Ziehl & Jones
 Counsel for the Debtor               LLP                           Judith Elkin                    jelkin@pszjlaw.com
                                                                                                    mclemente@sidley.com;
                                                                    Matthew Clemente, Alyssa        alyssa.russell@sidley.com;
 Counsel for Official Committee of                                  Russell, Elliot A. Bromagen,    ebromagen@sidley.com;
 Unsecured Creditors                  Sidley Austin LLP             Dennis M. Twomey                dtwomey@sidley.com
                                                                                                    preid@sidley.com;
                                                                    Penny P. Reid, Paige Holden pmontgomery@sidley.com;
 Counsel for Official Committee of                                  Montgomery, Juliana Hoffman, jhoffman@sidley.com;
 Unsecured Creditors                  Sidley Austin LLP             Chandler M. Rognes              crognes@sidley.com
 Counsel for HCRE Partners LLC
 n/k/a NexPoint Real Estate Partners                                 Deborah Deitsch-Perez,        deborah.deitschperez@stinson.com;
 LLC                                 Stinson LLP                     Michael P. Aigen              michael.aigen@stinson.com
 Counsel for HCRE Partners LLC                                                                     brant.martin@wickphillips.com;
 n/k/a NexPoint Real Estate Partners Wick Phillips Gould & Martin,   Brant C. Martin, Jason M.     jason.rudd@wickphillips.com;
 LLC                                 LLP                             Rudd, Lauren K. Drawhorn      lauren.drawhorn@wickphillips.com




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                          EXHIBIT B
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                                                                       Exhibit B
                                                                Civil Action Service List
                                                               Served via First Class Mail
                      Description                CreditorName           CreditorNoticeName               Address1       City State Zip
         Counsel for HCRE Partners LLC n/k/a                         Deborah Deitsch-Perez,      3102 Oak Lawn Avenue,
         NexPoint Real Estate Partners LLC   Stinson LLP             Michael P. Aigen            Suite 777             Dallas TX  75219
         Counsel for HCRE Partners LLC n/k/a Wick Phillips Gould &   Brant C. Martin, Jason M.   3131 McKinney Avenue,
         NexPoint Real Estate Partners LLC   Martin, LLP             Rudd, Lauren K. Drawhorn    Suite 100             Dallas TX  75204




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